Case 2:19-bk-52868      Doc 209     Filed 01/26/22 Entered 01/26/22 11:18:44       Desc Main
                                   Document      Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                   AT COLUMBUS

 IN RE:                              :     Case No. 19-bk-52868
                                     :     Chapter 7
       Leonard Nyamusevya, Sr.       :
                                     :     Judge John E. Hoffman, Jr.
                    Debtor.          :
 ______________________________________________________________________________

                                 EXHIBIT LIST
  ___________________________________________________________________________

  Designation                       Description                       Identified   Admitted

      A         Certified Docket for Franklin County Clerk of
                Courts Case No. 10 CV 013480 (the “Foreclosure
                Action”).

      B         Email Correspondence from May 1, 2019 – May 3,
                2019 between Lerner Sampson & Rothfuss
                (“LSR”) and the Franklin County Ohio Sheriff’s
                Department regarding postponement and
                cancellation of the Sheriff’s Sale.

      C         Email Correspondence from May 1, 2019 – May 3,
                2019 between LSR and the Franklin County Ohio
                Sheriff’s Department with Notice of Bankruptcy
                Filing
      D         Notice of Bankruptcy/Suggestion of Stay filed on
                May 1, 2019 in the Foreclosure Action.

      E         Defendant’s Motion to Stay and to File the
                5/1/2019 Notice of Bankruptcy/Suggestion of Stay
                filed on May 2, 2019 in the Foreclosure Action.

      F         Sheriff’s Return of Order of Sale filed in the
                Foreclosure Action on May 3, 2019.

      G         Inspection reports for property inspections ordered
                from 5/1/2019 – 3/2020 and labeled pages 1 -45.
Case 2:19-bk-52868       Doc 209     Filed 01/26/22 Entered 01/26/22 11:18:44             Desc Main
                                    Document      Page 2 of 2




                                                      Respectfully submitted,

                                                      /s/ Kara A. Czanik
                                                      Harry W. Cappel (0066513)
                                                      Kara A. Czanik (0075165)
                                                      Nathan H. Blaske (0076460)
                                                      Dinsmore & Shohl LLP
                                                      255 East Fifth Street, Suite 1900
                                                      Cincinnati, OH 45202
                                                      Tel: (513) 832-5490
                                                      Fax: (513) 977-8141
                                                      Email: kara.czanik@dinsmore.com

                                 CERTIFICATE OF SERVICE

       I further certify that on this 26th day of January, 2022, a copy of the foregoing Exhibit List
 was mailed by first-class U.S. Mail, postage prepaid and properly addressed, to the following:

  Leonard Nyamusevya, Sr.
  PO Box 314
  Reynoldsburg, OH 43068
  Debtor


                                               /s/ Kara A. Czanik
                                               Kara A. Czanik (0075165)




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